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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States of America

Vv. - Criminal Case No: 17-22 RBW

Takisha Brown Dorsey

DEFENDANT’S SUPPLEMENT TO HER MEMORANDUM IN AID SENTENCING

Comes now Takisha Brown Dorsey, Dorsey, by and through undersigned counsel, and

supplements her memorandum in aid of sentencing, stating:

1. Dorsey is supplementing her memorandum in aid of sentencing by asking the Court to

consider the attached letter, dated March 23, 2018, received from Dr. Bluhm, M.D.

Respectfully submitted,

s/s Wendell C. Robinson

Wendell C. Robinson, 377091

7600 Georgia Ave. N.W., # 203
Washington, D.C. 20012

202-223-4470, phone, 202-726-9060 fax
Grindstonelaw@aol.com

Certificate of Service

I certify that a copy of this supplement was sent, vie, by this Court’s electronic email
system to: Kendra Davis Briggs, AUSA, 555 4" Street, N.W., Washington, D.C. 20530, on this

26" day of March 2018.

s/s Wendell C. Robinson
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RE: | TAKISHA BROWN
MRN: 4218095
DOB: May 17, 1975
Message
March 23, 2018
RE: Ms. Takish Brown

To Whom It May Concern:

Ms. Takisha Brown is the health care power of attorney and primary caregiver for her mother Ethel
Brown.

Mrs. Ethel Brown had serious airway complications after neurosurgery on October 13, 2016. She is
schedule for continuation of care due to neurosurgery. Mrs. Ethel Brown continues to have difficulties
with her memory and cognition she will need ongoing day and night supervision. I am concern that Mrs.
Ethel Brown will not have a full time caregiver if her daughter cannot remain with her mother to provide
the care she so severely needs.

On February 22, 2018 during her third surgery there was an enlarge mass discovered in her right kidney
porta. Mrs. Ethel Brown is schedule for ongoing Renal Cell Carcinoma treatment.

I am respectfully asking that Ms. Takisha Brown remain in her mother presence to help preserve her
mother’s life as it is vital to her care.

Please don’t hesitate to contact me should you need any further questions.

Sincerely,

Elizabeth Bluhm MD
DC License # 037109 (expires 12/31/18)
Board Certified in Internal Medicine (expires 2023)

Signatures
Electronically signed by: Elizabeth Bluhm, MD| MPH| FACP: DC-MD037109: March 23 2018 11:30AM EST (Author)

2300 M Street, NW Suite 910 @ Washington, DC 20037 @ 202-677-6990

 

 
